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                                                                    EXHIBIT 2

      CLAIM CHART: Infringement of Claim 18 of U.S. Patent No. 6,504,886 by the Nighthawk X10 Smart Wi-Fi Router


           Claim 18                                                                                              Infringement


A communication device capable of The Nighthawk X10 Smart Wi-Fi Router includes a communication device.
communicating a learning sequence                8/1/2018                                   Netgear Nighthawk X10 AD7200 Smart WiFi Router (R9000) Review & Rating | PCMag.com



descriptor for use in constructing a
learning sequence, said device
comprising:




                                                       MSRP                                                                                                                      LOWEST PRICE

                                  The communication device is compliant with and operates pursuant to $424.99
                                                       $499.99
                                                                                                      the WiFi Standard. See
                                  https://www.netgear.com/support/product/r9000.aspx
                                                    Amazon
                                                                           $424.99
                                                                                                         +FREE SHIPPING



                                  Clause 20 (High Throughput [HT] PHY) of the WiFi Standard references and includes the claimed
                                  communication device:
                                                    PROS

                                                       Speedy 60GHz throughput. Excellent 5GHz performance. Very fast ﬁle-transfer
                                                       speeds. Supports Multi-User Multiple Input, Multiple Output (MU-MIMO), 802.11ad,
                                                       and 160MHz networking technologies. Feature-packed.

                                                       CONS

                                                       Very expensive. So-so MU-MIMO throughput in testing. Lacks detailed Quality of
                                                       Service (QoS) settings.

                                                       BOTTOM LINE

                                                       The 802.11ad, MU-MIMO-equipped Netgear Nighthawk X10 R9000 delivers blazing
                                                       5GHz throughput and even faster 60GHz speeds, and despite the high price, is an
                                                       excellent way to future-proof your wireless network.

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                                                 https://www.pcmag.com/review/352017/netgear-nighthawk-x10-ad7200-smart-wiﬁ-router-r9000                                                        2/9
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Claim 18                                                    Infringement




                   See, e.g, IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                   LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications – Figure A.

                   The Nighthawk X10 Smart Wi-Fi Router is capable of communicating a learning sequence
                   descriptor (HT-SIG) for use in constructing a learning sequence (one or more HT Long Training
                   fields [Data HT-LTFs] within the HT-mixed format preamble).

                   The mandatory requirements of Clause 20 of the WiFi Standard describe the communication
                   device for communicating a learning sequence descriptor (HT-SIG) used in constructing a learning
                   sequence (one or more HT Long Training fields [Data HT-LTFs] within the HT-mixed format
                   preamble).




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Claim 18                                                     Infringement

                   “20.1.2 Scope

                   The services provided to the MAC by the HT PHY consist of two protocol functions, defined as
                   follows:
                   a) A PHY convergence function, which adapts the capabilities of the physical medium dependent
                   (PMD) system to the PHY service. This function is supported by the physical layer convergence
                   procedure (PLCP), which defines a method of mapping the PSDUs into a framing format (PPDU)
                   suitable for sending and receiving PSDUs between two or more STAs using the associated PMD
                   system.”

                   See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                   LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.1.2.

                   “20.1.3.2 HT PMD sublayer

                   The HT PMD sublayer provides a means to send and receive data between two or more STAs. This
                   clause is concerned with the 2.4 GHz and 5 GHz frequency bands using HT OFDM modulation.”

                   See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                   LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.1.3.2.

                   “20.3.9.4	HT	portion	of	HT-mixed	format	preamble	
                   	
                   20.3.9.4.1	Introduction	

                   When an HT-mixed format preamble is transmitted, the HT preamble consists of the HT-STF, the
                   HT-LTFs, and the HT-SIG.”

                   See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                   LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.3.9.4.1




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             Claim 18                                                         Infringement

                                    “20.3.9.4.3 HT-SIG definition

                                    The HT-SIG is used to carry information required to interpret the HT packet formats. The fields of
                                    the HT-SIG are described in Table 20-10.”

                                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.3.9.4.3.


a transmitter; and                  The Nighthawk X10 Smart Wi-Fi Router includes a transmitter. Clause 20 of the Wi-Fi Standard
                                    references and includes a transmitter:

                                    “Figure 20-2 and Figure 20-3 show example transmitter block diagrams. In particular, Figure 20-2
                                    shows the transmitter blocks used to generate the HT-SIG of the HT-mixed format PPDU. These
                                    transmitter blocks are also used to generate the non-HT portion of the HT-mixed format PPDU,
                                    except that the BCC encoder and interleaver are not used when generating the L-STF and L-LTFs.
                                    Figure 20-3 shows the transmitter blocks used to generate the Data field of the HT-mixed format
                                    and HT-greenfield format PPDUs. A subset of these transmitter blocks consisting of the
                                    constellation mapper and CSD blocks, as well as the blocks to the right of, and including, the
                                    spatial mapping block, are also used to generate the HT-STF, HT-GF-STF, and HT-LTFs. The HT-
                                    greenfield format SIGNAL field is generated using the transmitter blocks shown in Figure 20-2,
                                    augmented by additional CSD and spatial mapping blocks.”

                                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.3.3.




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Claim 18                                                   Infringement




                   See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                   LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - Figure 20-3.




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            Claim 18                                                          Infringement


a processor in communication with   The Nighthawk X10 Smart Wi-Fi Router includes a processor in communication with said
said transmitter;                   transmitter.

                                    The processor communicates with the transmitter using the TXVECTOR.

                                    “20.2	HT	PHY	service	interface	
                                    	
                                    20.2.1	Introduction	
                                    	
                                    The PHY interfaces to the MAC through the TXVECTOR, TXSTATUS, RXVECTOR, and
                                    PHYCONFIG_VECTOR. The TXVECTOR supplies the PHY with per-packet transmit
                                    parameters. Status of the transmission is reported from PHY to MAC by parameters within
                                    TXSTATUS. Using the RXVECTOR, the PHY informs the MAC of the received packet
                                    parameters. Using the PHYCONFIG_VECTOR, the MAC configures the PHY for operation,
                                    independent of frame transmission or reception.”

                                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.2.1.

                                    The processor uses the TXVECTOR to supply the transmitter with per-packet transmit parameters:




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Claim 18                                              Infringement




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Claim 18                                              Infringement




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Claim 18                                                   Infringement




                   See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                   LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - Table 20-1.


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             Claim 18                                                            Infringement


wherein said processor is capable   The Nighthawk X10 Smart Wi-Fi Router includes a processor that provides the first parameter which
of providing a first parameter, a   specifies the number of segments in the learning sequence (NHTDLTF) to the transmitter. The processor
second parameter and a third        also provides the second parameter which specifies the sign pattern of each of segments to the
parameter to said transmitter       transmitter. The processor also provides the third parameter which specifies the training pattern of each
capable of transmitting said        of segments to the transmitter. The transmitter can transmit these parameters.
parameters, wherein…




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             Claim 18                                                         Infringement




                                   See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                                   LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - Table 20-1.


said first parameter specifies a   The Nighthawk X10 Smart Wi-Fi Router transmits HT-SIG, within the HT-mixed format
                                   preamble, which includes the first parameter specifying the number of segments (the number of
number of segments in said
                                   Data HT-LTFs - NHTDLTF) in the learning sequence. The number of segments NHTDLTF is specified
learning sequence,                 by the MCS and STBC fields contained within the HT-SIG.

                                   “20.3.9.4	HT	portion	of	HT-mixed	format	preamble	
                                   	
                                   20.3.9.4.1	Introduction	

                                   When an HT-mixed format preamble is transmitted, the HT preamble consists of the HT-STF, the
                                   HT-LTFs, and the HT-SIG.”

                                   See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                                   LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.3.9.4.1

                                   “The HT-LTF portion has one or two parts. The first part consists of one, two, or four HT-LTFs
                                   that are necessary for demodulation of the HT-Data portion of the PPDU. These HT-LTFs are
                                   referred to as HT-DLTFs.”

                                   See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                                   LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.3.9.4.6


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Claim 18                                                      Infringement


                    The WiFi Standard uses MIMO (multiple input, multiple output) technology for High Throughput
                    (HT) data capability. MIMO employs multiple antennas to transmit/receive more information than
                    would be possible using single antennas. This additional transmit capacity may be provided
                    through Spatial Division Multiplexing (SDM), which spatially multiplexes multiple independent
                    data streams, transferred simultaneously within one spectral channel. Each spatial stream (spatial
                    channel) requires a discrete antenna at both the transmitter and the receiver.

                    The learning sequence descriptor HT-SIG includes the MCS (hence Nss number of spatial streams)
                    and STBC (Space time block code) fields, which together determine the number of space-time
                    steams, calculated by the formula:

                                                             NSTS=STBC+Nss

                    From this, the number of segments (HT-LTFs) in the learning sequence (NHTDLTF ) is found using
                    Table 20-12 below, which determines the relationship between NSTS and NHTDLTF .

                    “The MCS is a value that determines the modulation, coding, and number of spatial channels. It is
                    a compact representation that is carried in the HT-SIG. Rate-dependent parameters for the full set
                    of MCSs are shown in Table 20-29 through Table 20-43 (in 20.6). These tables give rate-dependent
                    parameters for MCSs with indices 0 through 76. MCSs with indices 0 to 7 and 32 have a single
                    spatial stream; MCSs with indices 8 to 31 have multiple spatial streams using equal modulation
                    (EQM) on all the streams; MCSs with indices 33 to 76 have multiple spatial streams using unequal
                    modulation (UEQM) on the spatial streams. MCS indices 77 to 127 are reserved.”

                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.3.5.




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Claim 18                                                    Infringement




                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications – Table 20-12




                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications – Table 20-11



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Claim 18                                                    Infringement




                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications – Table 20-10




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             Claim 18                                                        Infringement




                                                                                                          Learning Sequence Descriptor




                                                                                                            Learning Sequence




                                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications – Figure 20-1



said second parameter specifies a   The Nighthawk X10 Smart Wi-Fi Router provides a second parameter (STBC - Space time block
sign pattern of each of said        code) within the Learning Sequence Descriptor (HT-SIG), said second parameter specifying a sign
segments,                           pattern of each of said segments (Data HT-LTFs).




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Claim 18                                                       Infringement


                    “20.3.9.4	HT	portion	of	HT-mixed	format	preamble	
                    	
                    20.3.9.4.1	Introduction	

                    When an HT-mixed format preamble is transmitted, the HT preamble consists of the HT-STF, the
                    HT-LTFs, and the HT-SIG.”

                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.3.9.4.1

                    The Nighthawk X10 Smart Wi-Fi Router transmits the learning sequence descriptor (HT-SIG)
                    comprising a second parameter (STBC). The second parameter specifies the sign pattern of each of
                    the segments of the learning sequence (HT-LTFs) by selecting the row from the HT-LTF mapping
                    matrix PHTLTF.

                    For example, if number of spatial streams Nss=1, the second parameter STBC determines the row
                    into the HT-LTF mapping matrix PHTLTF.




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Claim 18                                                       Infringement



                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications – Table 20-11

                    PHTLTF is the HT-LTF mapping matrix, given by:




                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications – Equation 20-27.

                    With NSTS=2 for example, the sign pattern of the learning segments on the first space-time stream is
                    the following:
                                                                    1,-1
                                                                    (+,-)

                    And the sign pattern of the learning segments on the second space-time stream is the following:
                                                                    1, 1
                                                                   (+,+)

                    “The generation of HT-DLTFs is shown in Figure 20-9. The generation of HT-ELTFs is shown in
                    Figure 20-10. In these figures, and in the following text, the following notational conventions are
                    used:

                       —     𝑋   !,!  indicates the element in row m and column n of matrix X
                       —     𝑋   ! indicates a matrix consisting of the first N columns of matrix X
                       —     𝑋   !:! indicates a matrix consisting of columns M through N of matrix X


                    Where 𝑀 ≤ 𝑁, X is either 𝑄! or 𝑃!"#"$ ”


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Claim 18                                                    Infringement




                                                              Each HT-LTF (segment) is multiplied by either +1 or -1 based
                                                              on the selected row elements (sign pattern) of the PHTLTF matrix


                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications – Figure 20-9.

                    Where PHTLTF the HT-LTF mapping matrix, is given by




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Claim 18                                                    Infringement


                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.3.9.4.6.

                    Therefore, each HT-DLTFn is generated as follows:

                                                                         𝑃!"#"$     !!"! ,!
                                               ↓
                                        𝐻𝑇𝐿𝑇𝐹 →⊗→ 𝐻𝑇𝐿𝑇𝐹× 𝑃!"#"$          !!"! ,!   = 𝐻𝑇 − 𝐷𝐿𝑇𝐹!

                    Where 1 ≤ 𝑛 ≤ 𝑁!"#$"% and 𝑁!"#$"% is the number of HT-DLTFs segments.




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Claim 18                                                    Infringement




                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications – Table 20-10




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             Claim 18                                                           Infringement


and said third parameter specifies a   The Nighthawk X10 Smart Wi-Fi Router transmits a third parameter (CBW) included in the
                                       learning sequence descriptor (HT-SIG), specifying the wireless channel operation mode (e.g,
training pattern of each of said
                                       20MHz or 40MHz) which further determines the training pattern of each segment (e.g., HTLTF-
segments,
                                       28,28 or HTLTF-58,58). The selected training pattern comprises an OFDM (Orthogonal Frequency-
                                       Division Multiplexing) symbol of either 57 elements (HTLTF-28,28) or 117 elements (HTLTF-58,58).




                                       See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                                       LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications – Table 20-10

                                       “Determine whether 20 MHz or 40 MHz operation is to be used from the CH_BANDWIDTH
                                       parameter of the TXVECTOR. Specifically, when CH_BANDWIDTH is HT_CBW20 or
                                       NON_HT_CBW20, 20 MHz operation is to be used. When CH_BANDWIDTH is HT_CBW40 or
                                       NON_HT_CBW40, 40 MHz operation is to be used.”

                                       See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                                       LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.3.4.




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            Claim 18                                                         Infringement




                                   See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                                   LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.3.9.4.6.


wherein said training pattern is   The Nighthawk X10 Smart Wi-Fi Router includes a training pattern that is indicative of an
indicative of an ordering of a     ordering of a reference symbol and a training symbol in each of said segments.
reference symbol and a training
symbol in each of said segments.   When CBW is set to 0, the training pattern for HTLTF-28,28 segment shown in the equation 20-23
                                   indicates an ordering of the reference symbols L-LTF-26,26 and the training symbols highlighted
                                   below.




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Claim 18                                                      Infringement



                                                                                                    Training Symbols



                                                                                                    Reference Symbols




                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - §§ 20.3.9.3.4 and
                    20.3.9.4.6.

                    When CBW is set to 1, training pattern for HTLTF-58,58 segment shown in the equation 20-24
                    indicates an ordering of reference symbols L-LTF-26,26 and the training symbols highlighted below.



                                                                                                   Training Symbols




                                                                                                    Reference Symbols




                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.3.9.4.6.




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Claim 18                                                    Infringement




                    See, e.g., IEEE Std 802.11™ -2012, IEEE Standard for Information technology– Part 11: Wireless
                    LAN Medium Access Control (MAC) and Physical Layer (PHY) Specifications - § 20.3.9.3.4




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